Dear Secretary Carnahan:
This opinion letter responds to your request dated December 30, 2008, for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition submitted by David Rouchka, regarding a proposed constitutional amendment related to Article I, Section 35.
We conclude that the petition should be rejected for the following reason:
  • The petition states that the proposed amendment to the Constitution shall be submitted to the voters at the general election to be held on the "fourth day of November, 2008." That date has passed.
  • The petition includes the text, "THE MISSOURI SAVE OUR SECRET BALLOT INITIATIVE."
The text appears to be a title for the initiative. There is no statutory or constitutional authority for a title drafted by the circulators to appear on the petition.
Because of our rejection of the form of the petition for the reasons stated above, we have not reviewed the petition to determine if additional deficiencies exist. Pursuant to Section 116.332.3, RSMo, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
Very truly yours,
KAREN KING MITCHELL
Deputy Attorney General1
                                                         Very truly yours,
                                _________________________ JEREMIAH W. (JAY) NIXON Attorney General
1 This opinion was signed by Karen King Mitchell, Deputy Attorney General, not Attorney General Nixon.